               IN THE UNITED STATES DISTRICT COURT
            FOR THE WESTERN DISTRICT OF PENNSYLVANIA

                                           :
 NICOLE ZICCARELLI,                        :     No. 2:20-cv-01831-NR
                                           :
                             Plaintiff,    :
                                           :
                v.                         :
                                           :
 THE ALLEGHENY COUNTY BOARD OF :
 ELECTIONS, RICH FITZGERALD, in his :
 official capacity as a Member of the      :
 Allegheny County Board of Elections,      :
 SAMUEL DEMARCO, in his official           :
 capacity as a member of the Allegheny     :
 County Board of Elections, BETHANY        :
 HALLAM, in her official capacity as a     :
 member of the Allegheny County Board of :
 Elections, and KATHY BOOCKVAR, in         :
 her official capacity as the Secretary of :
 the Commonwealth of Pennsylvania,         :
                                           :
                             Defendants.   :


                        PLAINTIFF’S STATUS REPORT

      Per the Court’s Order of December 10, 2020, Plaintiff Nicole Ziccarelli

submits this status report.

I.    PLAINTIFF INTENDS TO PROCEED

      Plaintiff does intend to proceed with this case (and does not intend to seek

appellate review of the order on the request for TRO relief). To that end, subsequent

to the TRO hearing on November 25, 2020, Plaintiff filed the First Amended

Complaint (FAC) (doc. 29) on December 1, 2020. The FAC reflects events occurring

subsequent to the TRO hearing, including the final certification of votes by
Westmoreland County, which certification did not include the undated ballots from

Westmoreland. See FAC at ¶¶ 45-54.

      Upon review of the Court’s oral opinion regarding the request for TRO relief,

Plaintiff understands the Court agrees that Westmoreland and Allegheny County

cannot treat identically situated voters differently without violating equal

protection. See TRO Hearing Transcript at 28:15-29:2 (stating, among other things,

“So I do think this falls within Bush v. Gore which goes I think to a likelihood of

success on the merits to the plaintiff.”). This correct conclusion appears to mean

that there remains primarily one open legal issue in this matter (but not just one

because there are, among other things, due process issues to resolve at summary

judgment 1): whether the remedy for the constitutional violation identified in the

original complaint, the TRO hearing, and reiterated in the FAC, is to “level up” or

“level down.” See TRO Hearing Transcript at 29:8-24.

      Plaintiff submits, and is prepared to present full summary judgment briefing

on the matter upon the close of limited discovery (see below), that the only available

legal remedy here is to exclude—i.e., level down—the unlawfully counted undated

ballots from Allegheny County. By way of brief summary of this position, the United



      1 To be clear on this point, Plaintiff fully believes, and is prepared to prove at
summary judgment, that the Allegheny County Board of Elections unlawfully
changed “the rules of the game” after the election was over by counting the undated
declaration ballots, which violated due process. Cf. Roe v. Mobile Cty. Appointing
Bd., 904 F. Supp. 1315, 1335 (S.D. Ala. 1995) (“The change in election practice and
interpretation of the law of the State of Alabama is ‘broad-gauged unfairness [that]
permeates an election.’ The post-election change of practice is abominable under the
Constitution of the United States. It amounts to ballot-box stuffing.”), aff’d, 68 F.3d
404 (11th Cir. 1995).
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States Supreme Court has held, in a case relied upon by Judge Brann in the opinion

cited by this Court during the TRO hearing,2 that “[w]hen the right invoked is that

to equal treatment, the appropriate remedy is a mandate of equal treatment, a

result that can be accomplished by withdrawal of benefits from the favored class as

well as by extension of benefits to the excluded class. How equality is accomplished

... is a matter on which the Constitution is silent.” Sessions v. Morales-Santana, 137

S. Ct. 1678, 1698 (2017) (citations and quotations omitted; emphasis added). The

Court further explained that while the “preferred rule in the typical case is to

extend favorable treatment” that rule does not apply in a case where application of

the rule (i.e., leveling up) would thwart legislative intent with a particular statutory

scheme. See id. at 1701 (where court leveled down based on perceived Congressional

intent). Indeed, where unconstitutional disparate treatment springs from

application of a statutory scheme—like here with the Pennsylvania Election Code—

the question a court must answer is this: what would the legislative body have done

with the equal treatment violation had it been presented with it? See id. at 1700; see

also Levin v. Commerce Energy, Inc., 560 U.S. 413, 427 (2010).

      Here, the General Assembly’s intent with the requirement to date the voter

declaration is clear based on the plain language of the Election Code, meaning the

General Assembly would (and, indeed did) command each county to set aside and




      2  Donald J. Trump for Pres., Inc. v. Boockvar, No. 4:20-CV-02078, 2020 WL
6821992, at *12 n.121 (M.D. Pa. Nov. 21, 2020) (citing Sessions), aff’d sub nom.
Donald J. Trump for Pres., Inc. v. Sec. of Pennsylvania, 20-3371, 2020 WL 7012522
(3d Cir. Nov. 27, 2020).
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not canvass such ballots to yield equal treatment of the ballots. Certainly Defendant

Secretary Boockvar interpreted the Code exactly this way when she issued formal

guidance on September 28, 2020 advising county boards of election to “[s]et aside

any ballots without a filled out, dated and signed declaration envelope.” See FAC at

¶ 14. Moreover this same conclusion about the General Assembly’s intent to not

have undated ballots counted was reached by both the Pennsylvania Supreme Court

and the Commonwealth Court. See In re Canvass of Absentee and Mail-in Ballots of

November 3, 2020 Gen. Election, No. 29 WAP 2020, 2020 WL 6866415, at *23 (Pa.

Nov. 23, 2020) (Wecht, J., concurring in part: “The only practical and principled

alternative is to read ‘shall’ as mandatory. Only by doing so may we restore to the

legislature the onus for making policy judgments about what requirements are

necessary to ensure the security of our elections against fraud and avoid

inconsistent application of the law, especially given the certainty of disparate views

of what constitute ‘minor irregularities’ and countervailing ‘weighty interests.’”); id.

at *25 (Dougherty J., joined by Saylor, C.J., and Mundy, J., concurring in part:

“I cannot agree that the obligation of electors to set forth the date they signed the

declaration on that envelope does not carry ‘weighty interests.’ I therefore

respectfully dissent from the holding at Section III(2) of the OAJC which provides

that the undated ballots may be counted.” (internal citation omitted)); In Re: 2,349

Ballots in the 2020 Gen. Election App. of: Nicole Ziccarelli, No. 1162 C.D. 2020, 2020

WL 6820816, at *5 (Pa. Cmwlth. Nov. 19, 2020) (“The General Assembly’s use of the

word ‘shall’ in these provisions has a clear imperative and mandatory meaning. ….



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A sufficient declaration is one where the elector filled out, dated, and signed the

declaration.”), rev’d sub nom. In re Canvass of Absentee and Mail-in Ballots of

November 3, 2020 Gen. Election, No. 29 WAP 2020, 2020 WL 6866415 (Pa. Nov. 23,

2020).

         Both of these tribunals identified the date requirement as an important anti-

fraud provision. See generally In re Canvass of Absentee and Mail-in Ballots of

November 3, 2020 Gen. Election, 2020 WL 6866415, at *23 (Wecht, J., concurring: “I

do not dispute that colorable arguments may be mounted to challenge the necessity

of the date requirement, and the OAJC recites just such arguments. But colorable

arguments also suggest its importance, as detailed in Judge Brobson’s opinion as

well as Justice Dougherty’s Concurring and Dissenting Opinion.”). Notably,

Defendant Secretary Boockvar has also identified the important anti-fraud purpose

of the date requirement when she, in a brief to the United States Supreme Court,

through Attorney General Josh Shapiro, stated as follows: “[T]he mail-in ballot

envelope contains a Voter’s Declaration that must be signed and dated by the

qualified elector. Even absent a legible postmark, if a declaration indicates it was

signed after Election Day, that would be compelling evidence that the ballot was not

timely mailed. Lying on this declaration constitutes voter fraud.” Brief of Kathy

Boockvar, Scarnati v. Boockvar, Nos. 20A53 & 20A54, 2020 WL 5912579, at *16

(U.S. Oct. 5, 2020).

         In other words, every state appellate court to have reviewed these issues, and

seemingly also Secretary Boockvar, agree that an undated declaration on a mail-in



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ballot renders that ballot unlawful under an important election-integrity provision

of the Election Code. To set them aside as a function of “leveling down” is not

disenfranchisement or against the public’s interest, it is, instead, simply following a

clear legislative mandate from the General Assembly. See In re Canvass of Absentee

and Mail-in Ballots of November 3, 2020 Gen. Election, 2020 WL 6866415, at *19

(Wecht, J., concurring in part: “A court’s only ‘goal’ should be to remain faithful to

the terms of the statute that the General Assembly enacted, employing only one

juridical presumption when faced with unambiguous language: that the legislature

meant what it said. And even where the legislature’s goal, however objectionable, is

to impose a requirement that appears to have a disenfranchising effect, it may do so

to any extent that steers clear of constitutional protections.”); see also Burdick v.

Takushi, 504 U.S. 428, 433 (1992) (“Common sense, as well as constitutional law,

compels the conclusion that government must play an active role in structuring

elections; ‘as a practical matter, there must be a substantial regulation of elections

if they are to be fair and honest and if some sort of order, rather than chaos, is to

accompany the democratic processes.’”).

II.   PLAINTIFF INTENDS TO SEEK EXPEDITED REVIEW

      At the time of the Court’s Order requesting this status report, Plaintiff

Ziccarelli was preparing a motion for expedited discovery in this matter. Plaintiff

believes “good cause” exists under the circumstances to proceed with immediate

discovery, even before Defendants have responded to the FAC. See Mader v. Union

Township, No. 2:20-CV-01138-CCW, 2020 WL 7027499, at *2 (W.D. Pa. Nov. 30,



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2020). In lieu of such a formal motion, Plaintiff Ziccarelli requests that the Court

accept this status report as a request for expedited discovery.

III.   EXPEDITED REVIEW PROPOSAL AND PROCEDURE FOR SAME

       Plaintiff Ziccarelli submits that this matter can, and should be, fully and

finally resolved on cross-motions for summary judgment. In aid of such motions,

Plaintiff submits the parties should do one of two things. One, the parties should

stipulate to a set of facts, and to the authenticity of certain publicly available

records, and immediately proceed to merits briefs. If this proposal were adopted,

Plaintiff reasonably believes the stipulations could be reached on or before

December 16, 2020, and the cross motions for summary judgment, with briefs, could

be filed by December 30, 2020. Two, in the alternative, the parties should

immediately exchange discovery, with the responses due on or before December 23,

2020 (note: Plaintiff Ziccarelli already has discovery requests drafted and ready for

service). Thereafter, the cross motions for summary judgment, with briefs, could be

filed by January 6, 2021.

       Of the foregoing proposals, Plaintiff Ziccarelli prefers the first one, and

reasonably believes the core facts are not in dispute.




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                           Respectfully submitted,

Dated: December 11, 2020   /s/ Joshua J. Voss
                           Joshua J. Voss (No. 306853)
                           Matthew H. Haverstick (No. 85072)*
                           Shohin H. Vance (No. 323551)*
                           James G. Gorman (No. 328376)*
                           Samantha G. Zimmer (No. 325650)*
                           KLEINBARD LLC
                           Three Logan Square
                           1717 Arch Street, 5th Floor
                           Philadelphia, PA 19103
                           Ph: (215) 568-2000
                           Fax: (215) 568-0140
                           Eml: jvoss@kleinbard.com
                           mhaverstick@kleinbard.com
                           svance@kleinbard.com
                           jgorman@kleinbard.com
                           szimmer@kleinbard.com
                           * Admitted Pro Hac Vice

                           Attorneys for Plaintiff




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